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       FACEBOOK EXHIBIT AA

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 1   Derek W. Loeser (admitted pro hac vice)       Lesley Weaver (Cal. Bar No.191305)
     KELLER ROHRBACK L.L.P.                        BLEICHMAR FONTI & AULD LLP
 2   1201 Third Avenue, Suite 3200                 555 12th Street, Suite 1600
     Seattle, WA 98101                             Oakland, CA 94607
 3   Tel.: (206) 623-1900                          Tel.: (415) 445-4003
     Fax: (206) 623-3384                           Fax: (415) 445-4020
 4   dloeser@kellerrohrback.com                    lweaver@bfalaw.com

 5

 6   Plaintiffs’ Co-Lead Counsel

 7   Additional counsel listed on signature page

 8
                              UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
10

11
     IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
12   PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC

13                                                  PLAINTIFFS’ MOTION TO COMPEL
     This document relates to:                      PRODUCTION OF NAMED PLAINTIFFS’
14                                                  CONTENT AND INFORMATION
     ALL ACTIONS
15                                                  Judge: Hon. Vince Chhabria
                                                    Hon. Jacqueline Scott Corley
16                                                  Special Master Daniel Garrie
                                                    Courtroom: 4, 17th Floor
17
                                                    JAMS Ref. No.: 1200058674
18
                                                    ORAL ARGUMENT REQUESTED
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 1   I.        PLAINTIFFS’ SEPARATE STATEMENT
 2             Pursuant to ¶ 6 of the Protocol for Resolving Discovery Disputes—Order No. 1, Dkt. No.
 3   733, Plaintiffs’ Separate Statement is provided as Attachment A to this Motion to Compel.
 4   II.       INTRODUCTION
 5             There are no questions more central to this litigation than what information Facebook has
 6   collected about users, what it does with that information, and specifically what it shares or makes
 7   accessible to third parties. Plaintiffs have sought to learn from the outset of discovery what
 8   Facebook has collected, analyzed and how it is used. Decl. of Derek W. Loeser, Ex. 1.1 In 2019,
 9   Plaintiffs asked Facebook to identify the data sources containing information about the Named
10   Plaintiffs (at the time there were thirty). Finally, last year Plaintiffs brought a motion to compel,
11   limiting the request to just nine Named Plaintiffs. After consulting with Judge Chhabria, Judge
12   Corley ruled on “the proper scope of discovery related to the data Facebook accumulates about
13   the named Plaintiffs.” Discovery Order No. 9 at 1. She found the following types of user-related
14   information to be relevant:
15                        •   Data collected from a user’s on-platform activity;
16                        •   Data obtained from third parties regarding a user’s off-
17                            platform activities; and
18                        •   Data inferred from a user’s on or off-platform activity.
19   Id. at 1-2.
20             Notwithstanding the Court’s Order, Facebook continues to improperly impose its narrow
21   view of relevance on the scope of discovery, producing almost no information that falls into the
22   second and third categories that Judge Corley enumerated. In fact, it has failed to produce any
23   new documents with the Named Plaintiffs’ information since Discovery Order No. 9 issued.
24             Instead, Facebook limited its production to the first category—and almost exclusively
25   from Facebook’s “Download Your Information” (“DYI”) tool. This tool, which did not operate
26   until 2010, allows users to access and review some of their own platform activity, for a portion of
27

28   1
         Further references to “Ex. __” will be to Exhibits to the Declaration of Derek W. Loeser.

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 1   the Class Period.2 The DYI tool excludes significant other information collected and inferred by
 2   Facebook about users, including information collected from off-platform activity and information
 3   inferred from data Facebook collects about the users.
 4          Facebook has asserted repeatedly that Plaintiffs have conceded that they are entitled only
 5   to information that has been shared with third parties. But Plaintiffs are not required to accept
 6   Facebook’s own position on what was or was not shared or made accessible. That would allow
 7   Facebook to determine unilaterally what sharing or made accessible means in this highly
 8   technical context, and then, based on its own interpretation, determine what information should
 9   be discovered and presented to the jury. These are ultimate issues of fact that a factfinder, not
10   Facebook, must decide. Plaintiffs are not required to take Facebook’s answers on trust, and, as
11   Plaintiffs will explain in detail, they have good reasons not to do so.
12          Discovery Order No. 9 is not limited to “shared” information. Judge Corley refused to
13   limit Plaintiffs’ 30(b)(6) deposition to questions about shared information, Ex. 6, and expressly
14   held that “whether particular user data is not shared, not admissible, or not monetized, is not a
15   valid reason to object to a particular deposition question,” Ex. 7.
16          In correspondence and other papers, Facebook has suggested that it would be unduly
17   burdensome to produce all of the information required by Judge Corley’s order. These
18   suggestions have vaguely gestured in the direction of a burden argument rather than expressly
19   claiming or demonstrating that one actually exists. The first step in understanding if there is a
20   burden is identifying the data sources for all data, however collected, relating to the Named
21   Plaintiffs, including inferred data. Plaintiffs ask that Facebook be ordered to identify the
22   following aspects of those data sources: (1) the name of the database or data log; (2) a description
23   of the data source’s purpose and function; (3) information about the default retention status of the
24   data source (at a minimum, whether it is retained and for how long); (4) information about the
25   current retention status of the data source (at a minimum, whether it is retained and for how long);
26
     2
27     Plaintiffs have been only been able to find categories of information included in DYI from 2012
     to present. Thus, there are arbitrary, temporal limitations in this data collection in addition to
28   substantive.

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 1   and (5) where the current retention status differs from default retention status, the date the change
 2   was implemented. Following the identification of these data sources, Plaintiffs will work with
 3   Facebook and the Special Master to develop an efficient discovery plan to produce the relevant
 4   information associated with the Named Plaintiffs, sufficient to establish, on a classwide basis,
 5   Facebook’s common practices throughout the Class Period. It will then be for the factfinder to
 6   determine if Facebook’s use of that data, including sharing, selling, or making it available to third
 7   parties, was consistent with the promises Facebook made to Class member.3
 8   III.   RELEVANT BACKGROUND
 9          A.      The Discovery Requests

10          On November 25, 2019, Plaintiffs’ served Requests for Production Nos. 9-13, which seek
11   documents relating to the Named Plaintiffs.4 Ex. 1 at 12-13. In brief, Request No. 9 seeks all
12   documents relating to each of the Named Plaintiffs; Request No. 10 seeks documents sufficient to
13   show the categories of content and information Facebook collects, tracks, and maintains about
14   them; and Requests Nos. 11-13 seek documents identifying third parties that were able to access
15   information about the Named Plaintiffs. On July 16, 2020, Plaintiffs also served Interrogatories
16   16-17, which sought the identify of all third parties and business partners that had access to
17   Named Plaintiffs’ content and information, as well the specific content and information that was
18   accessed. Ex. 2.
19          B.      Facebook’s Response
20          In response to these requests, Facebook produced more than one million pages of
21   individual user data it maintained relating to the Named Plaintiffs from the DYI tool. E.g., Ex. 3
22   at 1. Facebook acknowledges that its production is entirely limited to the information the Named
23   Plaintiffs themselves shared on Facebook. Id. Virtually all of it is available in the DYI Tool.
24   Facebook produced no other information about the Named Plaintiffs, even though during the
25
     3
        Plaintiffs reserve the right to address on reply relevant facts disclosed for the first time in
26   conjunction with Facebook’s Motion for a Protective Order Against Production of API Call Logs,
27   filed the same day as this brief.
     4
        The requests define “documents” broadly, consistent with its usage in Federal Rule of Civil
28   Procedure 34(a)(1)(A). Id. at 8.

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 1   months of negotiations over this issue, Facebook informed Plaintiffs and acknowledged to the
 2   Court that it has substantial amounts of data about the Named Plaintiffs Ex. 10 at 8:10-13 (“There
 3   is other – there’s Facebook-generated information, information generated by third parties,
 4   information received from third parties. We have not represented that that is comprehensively
 5   included in our production.”); see also id. at 10:1-21 (Facebook explaining to Court that
 6   producing all the data and tables associated with a Named Plaintiff would be a “multiweek
 7   endeavor”).
 8          C.      The Resulting Briefing and Orders

 9          Because Facebook improperly limited its production in response to Plaintiffs’ RFPs 9-13
10   to information from the DYI tool, Plaintiffs filed a motion last September to compel discovery
11   related to these requests. Ex. 4. Plaintiffs asked the Court to compel production of sensitive
12   information Facebook derives and collects from business partners, app developers, apps, and
13   other sources. This request included “native, appended and behavioral data” and purportedly
14   anonymized data that could be connected to the Named Plaintiffs. Id. at 7-11.
15          On October 8, 2020, Facebook responded to Plaintiffs’ cross-motion. Ex. 3 (Dkt. No.
16   537). Facebook conceded that its production was limited to information derived from the Named
17   Plaintiffs’ activity on the platform. Facebook contended that all information related to the Named
18   Plaintiffs that they did not themselves share on Facebook was outside the scope of the case; that
19   all information not shared through one of the four theories of the case was not within the scope of
20   the case; that Plaintiffs were not entitled to all data collected from third parties about the Named
21   Plaintiffs; that the Stored Communications Act and Video Protection Privacy Act claims did not
22   require the production of additional data Facebook had collected about the Named Plaintiffs; and
23   that Facebook could not reasonably collect any of the additional information Plaintiffs sought. Id.
24   at 6-10.
25          On October 29, 2020, Judge Corley issued Discovery Order No. 9, resolving the dispute
26   by rejecting Facebook’s contentions. Ex. 5 (Dkt. No. 557). Notably, Judge Corley “consult[ed]
27   with the district court” before ruling “that discovery is not as limited as Facebook contends.” Id.
28

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 1   at 1. Judge Corley held that “the discoverable user data at issue includes” three categories of
 2   information: “[1] Data collected from a user’s on-platform activity; [2] Data obtained from third
 3   parties regarding a user’s off-platform activities; and [3] Data inferred from a user’s on or off-
 4   platform activity.” Id. at 2.
 5           On December 11, 2020, Judge Corley issued Discovery Order No. 11, further clarifying
 6   the scope of discoverable user data at issue. Ex. 6 (Dkt. No. 588). In advance of upcoming
 7   testimony from its corporate designee, Facebook sought a ruling that “user data not shared with or
 8   accessible to third parties is not relevant” and that “because Facebook does not share inferred user
 9   data, the inferred user data Facebook maintains is not relevant.” Id. at 1. In response, Judge
10   Corley recognized that how Facebook “specifically uses this data is an open question,” provided
11   that “[w]hat is needed now is more detail about Facebook’s collection and use of user data,” and
12   ordered Facebook to provide a corporate designee to testify “regarding the discoverable user data
13   as articulated by Discovery Order No. 9.” Id.
14           On January 15, 2021, Judge Corley issued Discovery Order No. 12, providing more
15   guidance about the scope of the upcoming corporate testimony. Ex. 7 (Dkt. No. 602). In light of
16   continued disagreement about the scope of the testimony about user data, Judge Corley held that
17   “whether particular user data is not shared, not admissible, or not monetized, is not a valid reason
18   to object to a particular deposition question.” Id. at 1-2.5
19           D.      Facebook’s Deficient Response to Judge Corley’s Orders

20           Judge Corley’s orders have not so far resulted in production of additional documents
21   responsive to Requests for Production Nos. 9-13, and it does not appear that such productions are
22   forthcoming. In fact, Facebook’s most recent position, provided in an April 1, 2021 letter, Ex. 8,
23   repeats the positions it took before Discovery Order No. 9 was issued. In the letter, Facebook
24

25   5
       Judge Corley also provided that, “[i]f the deponent is unable or unprepared to answer particular
     questions, that can be addressed with further, more targeted, 30(b)(6) depositions if needed.” Id.
26   at 2. Facebook’s designees, Konstantinos Papamiltiadis and Amy Lee, were unable or unprepared
     to answer numerous questions about the specific issues on which Judge Corley ordered testimony:
27   discoverable user data as defined by Discovery Order No. 9 “and how Facebook monetizes—
     directly or indirectly—and thus values user data.” Id. at 1. Consistent with Discovery Order No.
28   12, Plaintiffs will seek additional corporate testimony on these topics.

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 1   again contended that data collected but not shared is irrelevant. Id. at 3. It also again conceded
 2   that Facebook’s production related to the Named Plaintiffs largely reflected information collected
 3   from their on-platform activity, and that virtually all of it was available to the Named Plaintiffs
 4   themselves through the DYI tool. Id. at 2.
 5          Facebook also misleadingly asserted that Plaintiffs conceded information not shared is not
 6   relevant, id. at 4, neglecting to note that the parties have long disputed the factual and legal
 7   question of what information is shared. Relatedly, Facebook misleadingly paraphrased Discovery
 8   Order No. 9 to limit discoverable information related to the Named Plaintiffs to information that
 9   was shared with third parties, id., ignoring Judge Corley’s conclusion that “[h]ow [Facebook]
10   specifically uses this data is an open question,” Ex. 6 (Dkt. No. 588) at 1. Finally, Facebook
11   stated that Facebook had completed its production of discoverable user data before Discovery
12   Order No. 9. Id. at 4-5.
13          Similarly, Facebook has objected to Plaintiffs’ Interrogatories 16-17, which asks
14   Facebook to identify the content and information accessed by which third parties. Ex. 2.
15   Facebook has claimed that it was investigating what information it could produce in response to
16   these Interrogatories, but thus far has produced none.
17          E.      Facebook Has Discoverable Information That It Has Declined to Produce

18          Facebook does have plenty of information on the Named Plaintiffs that falls into Judge
19   Corley’s second and third categories. Facebook told the Court as much last year. Ex. 10 at 8, 10.
20   And
21                                                                       See Ex. 11 (FB-CA-MDL-
22   00213424-439).
23

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 4           What’s more, Facebook connects and integrates information generated from on-platform
 5   activity with information about users that it has obtained from third parties and off-platform
 6   activity. This is clear not only from internal documents, see Ex. 11 (FB-CA-MDL-00213424); Ex.
 7   12 (FB-CA-MDL-00149613); Ex. 13 (FB-CA-MDL-00203262), but also from patent applications
 8   and publicly reported information. One application published on July 6, 2017 plainly shows how
 9   Facebook can associate its own profile of a user with media consumption data generated off-
10   platform. Ex. 14. Indeed, Plaintiffs have learned from investigative journalists—not Facebook—
11   that Facebook creates internal categories queried by third parties who pay Facebook for the
12   privilege of accessing users based on them. ProPublica identified some of these categories in
13   2016, which include Dissociative identity disorder, Specific social phobia, Becet’s disease, Fetal
14   alcohol spectrum disorder, and Why Did I Get Married?, among more than 50,000 others.6
15           None of this information has been produced for the Named Plaintiffs.
16           F.     Plaintiffs’ Unsuccessful Attempts to Mediate This Issue

17           Plaintiffs have attempted to resolve this issue repeatedly, including through mediation.
18   During the mediation sessions, and in related communications, Facebook’s asserted that
19   production of all information that could be associated with the Named Plaintiffs was untenable. In
20   response, Plaintiffs repeatedly asked for information that would assist the parties in limiting the
21   burden of production on Facebook. Plaintiffs’ requests included, but are not limited to:
22       •   On July 9, 2021, Plaintiffs asked Facebook for a data model for the Named Plaintiffs’
             data, a list of the APIs and SDK calls used to access the data model for the Named
23           Plaintiffs, a list of third parties permitted to make the API and SDK calls against the
             Named Plaintiffs’ data. Ex. 15. Facebook did not respond.
24
         •   On July 18, 2021, Plaintiffs provided further clarification regarding the information
25

26
     6
27     Information available for download at Facebook Ad Categories (propublica.org) (Row 378:
     Dissociative identity disorder; Row 436: Specific social phobia; Row 592: Becet’s disease; Row
28   669: Fetal alcohol spectrum disorder; Row 1000: Why Did I Get Married?).

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               requested in their July 9, 2021 communication. Id. Facebook did not respond.
 1
           •   On September 10, 2021, Plaintiffs asked for the complete production of information
 2             Facebook has collected about the Named Plaintiffs or an explanation of what specific
               information it is withholding. Ex. 16. Facebook did not respond.
 3
               Finally, on October 6, 2021, the Special Master declared impasse on the issue of
 4
     “Production of Named Plaintiffs’ data in compliance with Dkt. No. 557.”
 5
     IV.       ARGUMENT
 6
               A.     The Court Has Already Determined the Information Plaintiffs Seek Is
 7                    Relevant—Whether or Not Facebook Claims That It Has Been Shared.
 8             About a year ago, after several months of negotiations, the parties submitted briefs to
 9   Judge Corley on whether the information about users’ activities on the Facebook platform was the
10   only kind of relevant information. On this issue, Judge Corley sided with Plaintiffs, “rul[ing]” that
11   “the discoverable user data at issue includes” not only (1) “[d]ata collected from a user’s on-
12   platform activity,” but also (2) “[d]ata obtained from third parties regarding a user’s off-platform
13   activities,” and (3) “[d]ata inferred from a user’s on or off-platform activity.” Discovery Order
14   No. 9 at 2. Facebook has produced almost no discovery in the second or third categories
15   encompassed by Judge Corley’s order.
16             Facebook, pointing largely to the parties’ briefs, has argued that information within the
17   second and third categories listed by Judge Corley is relevant only if it has been shared with a
18   third party. This argument is erroneous for several independently sufficient reasons.
19             First, this argument contradicts the plain language of Discovery Order No. 9. In listing the
20   three categories of discoverable user information, Judge Corley did not require the information to
21   have been shared with a third party. Facebook should not be allowed to read such a requirement
22   into the order, particularly in light of the fact - recognized by Judge Corley – that how Facebook
23   uses information is an “open issue.”
24             Second, Facebook’s argument ignores what happened in the immediate aftermath of
25   Discovery Order No. 9. After the order was issued, Facebook told Plaintiffs that it had already
26   produced all the information related to the Named Plaintiffs that had been shared with third
27   parties. See Ex. 17 (Hr’g Tr. 17-18 (Dec. 9, 2020)). Plaintiffs suggested that a 30(b)(6) deposition
28

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 1   on users’ information would be appropriate. See id. at 28-29. The Court agreed. See id. at 29-30;
 2   Discovery Order No. 11 at 1-2.
 3          Then, when the parties were not able to agree on the topics for the 30(b)(6) deposition,
 4   Judge Corley issued Discovery Order No. 12 on January 15, 2021. There, she stated that one of
 5   the topics was “discoverable user data as defined by Discovery Order No. 9.” Discovery Order
 6   No. 12 at 1. And she noted that “whether particular user data is not shared, not admissible, or not
 7   monetized, is not a valid reason to object to a particular deposition question.” Id. at 1-2
 8   (emphasis added).
 9          Thus, when Facebook asserted that it had already turned over all the discoverable
10   information defined by Discovery Order No. 9, Corley did not allow Facebook to limit discovery
11   to what it claimed had been shared. Rather, she recognized that Plaintiffs were entitled to test
12   Facebook’s claims about how users’ information was shared, used, and monetized. That is
13   precisely what Plaintiffs are requesting through this motion.
14          B.      Whether the Named Plaintiffs’ Information Was Shared Is a Contested
                    Question on Which Plaintiffs Are Entitled to Evidence, Not Assertion
15
            Plaintiffs are not required to accept Facebook’s contention that other information was not
16
     shared. This is so for several reasons.
17
            First, there is evidence that Facebook shared information in Judge Corley’s other two
18
     categories—information inferred about a user and information about a user’s off-platform
19
     activities—with third parties. An email exchange between two directors at Facebook touches on
20
     about what
21
     Ex. 18. The exchange identifies that information: (1)
22
                                          (2)
23
                                                                       and (3)
24
                                                                                                   Id.
25
     Note that the second and third kinds of information fall neatly into Judge Corley’s second and
26
     third categories. While Facebook has called this email discussion “hypothetical,” it seems best
27
     read—and at the very least it is reasonable to read it—as describing Facebook’s actual practices.
28

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 1   Moreover, in connection with its ADI, Facebook asked app developers
 2

 3                            Ex. 23 (FB-CA-MDL-00377690, question 18) (emphasis added). This
 4   question strongly suggests that Facebook was shared inferred data with app developers. Finally,
 5   there is location-related metadata associated with posts made by Named Plaintiffs that is
 6   accessible to third parties but that has not been produced and is not available through Facebook’s
 7   DYI tool.7
 8          Second, internal documents demonstrate that Facebook itself does not know what
 9   information may have been shared with third parties.
10

11

12

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14       Ex. 19 (FB-CA-MDL-0195247); see also Ex. 20 at 6:2-4 (“What we cannot produce --
15   because it’s simply not recorded, it’s not the way our platform is constructed – is what data was
16   actually shared . . . .”) (statement of Mr. Snyder). Indeed, Facebook had to launch its ADI to
17   determine which third parties are taking what content and information about its users. See
18   generally Ex. 23 (FB_CA-MDL-00377690).
19

20                                                          (see id., Question 10), and
21                                                                  (id., Question 11).
22

23                    (id., Question 12), and
24                             (id., Question 13). As a result, Facebook is trying to identify for itself
25   what user information was shared and through what channels. It is difficult to credit Facebook’s
26
     7
27     Documents produced by reveal that third-party applications could obtain this metadata about
     users. See Ex. 21 (FB-CA-MDL-01938268). Such sharing with applications also extended to data
28   and metadata about users’ friends. Id.

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 1   assertion that it has produced all shared information when it is still in the midst of an elaborate
 2   investigation seeking to determine what information what information it shared with third parties.
 3          Third, the question of what information Facebook shared is the central issue in this case.
 4   For instance, one of Plaintiffs’ claims—and indeed the fourth category of misconduct recognized
 5   by Judge Chhabria—is whether Facebook properly monitored user content and information, and
 6   in particular whether it had sufficient safeguards in place to ensure that user content and
 7   information would not be disclosed without consent. Foundational to that claim is determining
 8   what information was made accessible to third parties in the first place.
 9          Fourth, requiring Plaintiffs to defer to Facebook’s own account of its practices contradicts
10   the whole point of discovery. See, e.g., Stein v. Farmers Ins. Co. of Ariz., No.
11   319CV00410DMSAHG, 2020 WL 7240318, at *3 (S.D. Cal. Dec. 8, 2020) (declining to require
12   policy holder to depend only on “the statements and testimony of the insurer’s employees as to
13   the evaluations and motivations of the insurer”); Fed. Indus., Inc. v. Cameron Techs. US, Inc.,
14   No. CV 07-1098-VBF(CTX), 2008 WL 11343314, at *3 (C.D. Cal. Oct. 16, 2008) (party was
15   “entitled to probe the veracity of and support for [the other’s] claim” of damages and causation).
16   If Facebook is so confident that this information was in fact not shared or made accessible, then it
17   should have no problem disclosing this information to defend its position.
18          Fifth, Facebook’s claim about what it did and did not share or make accessible raises the
19   question what sharing information means. From the beginning of this case, the parties have
20   disputed what it means to share information. The definition of what it means to share users’
21   information in the context of this case—where the sharing does not include anything physical,
22   and where information can be provided to third parties without ever leaving Facebook’s
23   systems—is likely to remain contested through summary judgment, if not trial, and will be
24   informed by the discovery Plaintiffs seek here.
25          C.      Facebook Has Failed to Substantiate a Disproportionate Burden in
                    Identifying the Data It Possesses Relating to Nine People.
26
            Once a party seeking discovery has established that the discovery is relevant, the party
27
     resisting discovery bears the burden of showing “why the discovery is irrelevant, overly broad, or
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 1   unduly burdensome or oppressive, and thus should not be permitted.” Proofpoint, Inc. v. Vade
 2   Secure, Inc., No. 19CV04238MMCRMI, 2020 WL 7398791, at *3 (N.D. Cal. Dec. 17, 2020)
 3   (citing Proofpoint, Inc. v. Vade Secure, Inc., No. 19-cv-04238-MMC (RMI), 2020 WL 6591210,
 4   at *4 (N.D. Cal. Nov. 11, 2020); Colaco v. ASIC Advantage Simplified Pension Plan, 301 F.R.D.
 5   431, 434 (N.D. Cal. 2014); Dominguez v. Schwarzenegger, No. C 09-2306 CW (JL), 2010 WL
 6   3341038, at *3 (N.D. Cal. Aug. 25, 2010)). This is a “heavy burden.” Dairy v. Harry Shelton
 7   Livestock, LLC, No. 18-CV-06357-RMI, 2021 WL 4476778, at *1 (N.D. Cal. Sept. 30, 2021).
 8   The party resisting discovery cannot rest on an assertion of burden, but “must actually
 9   demonstrate the nature of the burden” with affidavits or other evidence. Dish Network, LLC. v.
10   Jadoo TV, Inc., No. CV 18-9768-FMO (KSX), 2020 WL 2070990, at *3 (C.D. Cal. Feb. 28,
11   2020).
12            Here, Facebook asserts that producing all the information that could be associated with the
13   Named Plaintiffs is disproportionately burdensome, but in more than a year of conferring, it has
14   not provided any evidence for that assertion. Moreover, if there really is a burden associated with
15   Plaintiffs’ request, it is because
16

17            Plaintiffs, who are merely seeking the information Facebook has that can be associated
18   with the Named Plaintiffs, should not be worse off because of Facebook’s own data architecture
19   decisions. See, e.g., Lou v. Ma Labs., Inc., No. 12-CV-05409 WHA (NC), 2013 WL 12328278, at
20   *2 (N.D. Cal. Mar. 28, 2013) (“The Court finds that the burden defendants claim excuses them
21   from producing such documents is of their own making, and thus not compelling. . . .
22   [D]efendants are the master of their own record keeping.”), clarified on denial of reconsideration,
23   No. 12-CV-05409 WHA NC, 2013 WL 1615785 (N.D. Cal. Apr. 15, 2013).
24            Judge Chhabria’s early admonition to Facebook about burden is relevant here: “[T]here is
25   often a lot of talk about proportionality and whatnot. This is a big case. It is a significant issue. . .
26   . [T]his is not the type of case where we are going to be saying: Well, that might end up—that
27   effort might end up uncovering some relevant information; but, you know, it is just too expensive
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 1   or difficult, and so we are not going to make Facebook do it.” Ex. 22 at 29:3-10.
 2          D.      Plaintiffs Have Made Proposals to Reduce the Burden of Production on
                    Facebook
 3
            Nevertheless, Plaintiffs have identified a series of ways Facebook could provide
 4
     preliminary information that would enable the parties to meaningfully confer regarding the
 5
     possibility of agreeing on a less burdensome production. Specifically, Plaintiffs have asked for
 6
     production of a data model for the Named Plaintiffs’ information. Ex. 15. Plaintiffs have asked
 7
     Facebook to provide a list of the APIs and SDK calls used to access the Named Plaintiffs’ data
 8
     model. Id. Plaintiffs have asked for a list of third parties permitted to make such API and SDK
 9
     calls against the Named Plaintiffs’ data. Id. Plaintiffs have asked for schemas identifying how the
10
     Named Plaintiffs’ information is received, stored, and shared. Id. Plaintiffs have asked for
11
     snapshots in time of all information Facebook had that is capable of being associated with the
12
     Named Plaintiffs on three specific dates: December 17, 2019; May 20, 2021; and August 18,
13
     2021. Plaintiffs have even asked Facebook to simply identify the information it can associate with
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     the Named Plaintiffs that it is not producing, so that the parties’ dispute can be defined by a
15
     common understanding of the information at issue. Ex. 16.
16
            Although Facebook has responded to these proposals with silence, Plaintiffs believe there
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     is still a productive path forward. To understand the burden associated with the information
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     Plaintiffs are requesting, Facebook should be ordered to identify all data sources that may contain
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     information relating to the Named Plaintiffs.
20
     V.     CONCLUSION
21
            For the foregoing reasons, Plaintiffs move to compel Facebook to identify all data sources
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     that may contain information relating to the Named Plaintiffs, including but not limited to their
23
     profiles and identifiers. Specifically, Plaintiffs request that Facebook provide: (1) the name of the
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     database or data log; (2) a description of the data source’s purpose and function; (3) information
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     about the default retention status of the data source (at a minimum, whether it is retained and for
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     how long); (4) information about the current retention status of the data source (at a minimum,
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     whether it is retained and for how long); and (5) where current retention status differs from
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 1   default retention status, the date the change was implemented. For each data source, Facebook
 2   should provide, at a minimum: (1) the data schema; (2) definitions and descriptions of each field;
 3   (3) tool(s) which Facebook use to search each data source; and (4) instruction sets and manuals
 4   for all tools identified as being used by Facebook to search any data source identified in this step.
 5   With the Special Master’s assistance, the parties can use this information to develop an efficient
 6   discovery plan going forward.
 7    Dated: October 18, 2021                               Respectfully submitted,
 8
      KELLER ROHRBACK L.L.P.                                BLEICHMAR FONTI & AULD LLP
 9
      By:    /s/ Derek W. Loeser                            By:     /s/ Lesley E. Weaver
10           Derek W. Loeser                                        Lesley E. Weaver

11    Derek W. Loeser (admitted pro hac vice)               Lesley E. Weaver (SBN 191305)
      Cari Campen Laufenberg (admitted pro hac vice)        Anne K. Davis (SBN 267909)
12    David Ko (admitted pro hac vice)                      Matthew S. Melamed (SBN 260272)
      Adele A. Daniel (admitted pro hac vice)               Angelica M. Ornelas (SBN 285929)
13    Benjamin Gould (SBN 250630)                           Joshua D. Samra (SBN 313050)
      1201 Third Avenue, Suite 3200                         555 12th Street, Suite 1600
14    Seattle, WA 98101                                     Oakland, CA 94607
      Tel.: (206) 623-1900                                  Tel.: (415) 445-4003
15    Fax: (206) 623-3384                                   Fax: (415) 445-4020
      dloeser@kellerrohrback.com                            lweaver@bfalaw.com
16    claufenberg@kellerrohrback.com                        adavis@bfalaw.com
      dko@kellerrohrback.com                                mmelamed@bfalaw.com
17    adaniel@kellerrohrback.com                            aornelas@bfalaw.com
      bgould@kellerrohrback.com                             jsamra@bfalaw.com
18
      Christopher Springer (SBN 291180)
19    801 Garden Street, Suite 301
      Santa Barbara, CA 93101
20    Tel.: (805) 456-1496
      Fax: (805) 456-1497
21    cspringer@kellerrohrback.com

22
      Plaintiffs’ Co-Lead Counsel
23

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26

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